      Case 22-33553 Document 735 Filed in TXSB on 06/27/24     Page 1 of 1
                                                      Page 1 of 1


UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2022-33553
      Alexander E. Jones and Official Committee Of Unsecured Creditors
      Status Conference on [720].




      Case Type :                    bk
      Case Number :                  2022-33553
      Case Title :                   Alexander E. Jones and Official Committee Of Unsecured Creditors

      Audio Date\Time:               6/27/2024 9:01:24 AM
      Audio File Name :              4bk2022-33553_20240627-090124.mp3
      Audio File Size :              14112 KB
      Audio Run Time :               [00:29:24] (hh:mm:ss)




Help using this file:

         An audio file is embedded as an attachment in this PDF document. To listen to the file,
         click the Attachments tab or the Paper Clip icon. Select the Audio File and click Open.

MPEG Layer-3 audio coding technology from Fraunhofer IIS and Thomson.


         This digital recording is a copy of a court proceeding and is provided as
         a convenience to the public. In accordance with 28 U.S.C. § 753 (b)
         "[n]o transcripts of the proceedings of the court shall be considered as
         official except those made from the records certified by the reporter or
         other individual designated to produce the record."
